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                      UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF MISSOURI
                            EASTERN DIVISION

UNITED STATES OF AMERICA,                  )
                                           )
      Plaintiff,                           )
                                           )
      v.                                   )        Case No. 4: 16 CV 180 CDP
                                           )
THE CITY OF FERGUSON,                      )
                                           )
      Defendant.                           )
                                           )

      MEMORANDUM AND ORDER SETTING STATUS HEARING
                 ON JANUARY 20, 2022 AND
           NOTICE OF LIVE AUDIO STREAMING OF
          STATUS HEARING UNDER DISTRICT COURT
                 AUDIO STREAMING PILOT

      IT IS HEREBY ORDERED that there will be a quarterly status hearing on

Thursday, January 20, 2022 at 11:00 a.m. in person in Courtroom 3-North to

provide the parties and the Monitor with an opportunity to update the Court on the

status of implementation of the Consent Decree. This will be an in-person

hearing unless conditions related to the COVID pandemic require changing it

to a telephone hearing. All parties and interested persons should check the

court docket and/or the court website to see if an amended order was entered

changing the hearing to telephone. If the hearing remains in-person, members

of the public, in addition to the Monitor and counsel for the parties, will be allowed

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to speak at the hearing as set out below. In addition, the public will be able to

listen to the hearing on the court’s YouTube channel. Members of the public

may access the court’s YouTube channel at

https://www.youtube.com/channel/UCIWD5tA9DvZskM37uuuPBMg/.

Pursuant to E.D. Mo. L.R. 13.02, all means of photographing, recording,

broadcasting, and televising this hearing are prohibited. Accordingly, audio of the

proceeding, in full or in part, may not be recorded, broadcasted, or televised.

      IT IS FURTHER ORDERED that, assuming the hearing is in person, any

members of the public who wish to speak at the January 20, 2022 hearing may do

so by appearing at Courtroom 3-North between 10:30 and 10:50 a.m. on the day of

the hearing to register. Counsel, parties to the case, and the Monitor will be given

the opportunity to speak first. Statements by members of the public will be taken

in the order the person signed up and will be limited to five minutes each. All

persons speaking must speak from the lectern, state their names, and direct their

comments to the Court.

      IT IS FURTHER ORDERED that any members of the public who wish

to listen to the hearing may do so on the court’s YouTube channel, accessible at

https://www.youtube.com/channel/UCIWD5tA9DvZskM37uuuPBMg/.




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Pursuant to E.D. Mo. L.R. 13.02, all means of photographing, recording,

broadcasting, and televising are prohibited. Audio of the proceeding, in full or in

part, may not be recorded, broadcasted, or televised.




                                       _______________________________
                                       CATHERINE D. PERRY
                                       UNITED STATES DISTRICT JUDGE
Dated this 10th day of November, 2021.




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